                 United States Court of Appeals
                              FIFTH CIRCUIT
                           OFFICE OF THE CLERK

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                          March 31, 2025


Ms. Jennifer Case
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Southern District of Mississippi
501 E. Court Street
Suite 4.430
Jackson, MS 39201

Mr. Samuel Philip Goff
U.S. Attorney’s Office
Southern District of Mississippi
501 E. Court Street
Suite 4.430
Jackson, MS 39201

      No. 25-60102   USA v. Brown
                     USDC No. 3:23-CR-123-1


Dear Ms. Case and Mr. Goff,
We have docketed the appeal referenced above. Please use the
assigned case number for all future inquires.
Briefing Notice: The record is now complete for the purposes of
this appeal, as outlined in Fed. R. App. P. 12. The appellant’s
brief and record excerpts must be submitted within 40 days of the
date listed above on May 12, 2025 in accordance with Fed. R. App.
P. & 5th Cir. R. 28, 30, and 31. Please review 5th Cir. R. 30.1.2
and 5th Cir. R. 31.1 to determine if you are required to file
electronic copies of the brief and record excerpts. If required,
electronic copies must be in Portable Document Format (PDF). Please
refer to our briefing checklist on the Fifth Circuit’s website at:
http://www.ca5.uscourts.gov/docs/default-source/forms-and-
documents---clerks-office/rules/brchecklist.pdf.

Paper Copies of Briefs Not Required unless directed by the Clerk.
The court has waived requirement to file paper copies of briefs or
record excerpts. Should paper copies be required, the clerk will
notify you and instruct the number of copies to file.
Brief Covers: The case captions on brief covers must match the
case captions on the enclosed title caption sheets exactly. Any
modifications to the captions must be corrected before the brief
is submitted to the court.
Record Excerpts: As specified in 5th Cir. R. 30.1.7(c), an
appellant must file record excerpts. The electronic PDF version
of the record excerpts should include pages representing the "tabs"
identified in the document index. If you are notified to provide
paper copies of the excerpts, please ensure that copies filed
contain actual physical tabs that extend beyond the edge of the
document, to facilitate easy identification and review.
Policy on Extensions: The court grants extensions sparingly,
following the criteria outlined in 5th Cir. R. 31.4.        If you
request an extension, you must notify opposing counsel and inform
us whether the extension is opposed or unopposed. Note that, except
in extraordinary circumstances, the maximum extension for filing
briefs is 30 days in criminal cases and 40 days in civil cases.
Reply Brief: Cases are generally not submitted to the court until
all briefs are filed, except in criminal appeals. Reply briefs
must be filed within the 21-day period specified in Fed. R. App.
P. 31(a)(1). Please refer to 5th Cir. R. 31.1 to determine if
electronic copies of the reply brief are required, and for guidance
on format.
Dismissal of Appeals: Please be aware that the clerk may dismiss
appeals without notice if briefs are not filed on time, or if other
rules are not followed.
Appearance Form: If you have not yet electronically filed a "Form
for Appearance of Counsel," please do so within 14 days of this
notice. Ensure that you name each party you represent, as required
by Fed. R. App. P. and 5th Cir. R. 12. The form is available on
the Fifth Circuit’s website at www.ca5.uscourts.gov.
Brief Template: The clerk’s office provides brief templates and
a tool to check briefs for potential deficiencies before docketing.
To access these resources, log in to CM/ECF and select ‘Brief
Template’ (Counsel Only) or ‘PDF Check Document’ from the Utilities
menu or the "Attorney Toolbox".
Electronic Record on Appeal (EROA): We permit you to download all
or part of the electronic record on appeal (EROA) after this is
approved by the U.S. District Court. You will receive a notice
when access to the EROA is available. Counsel must be approved for
electronic filing and be listed as an attorney of record in the
case before access will be granted. Instructions for accessing
and downloading the EROA will be included in the notice you receive
from the district court, but are also available here:
http://www.ca5.uscourts.gov/docs/default-
source/forms/instructions-for-electronic-record-download-
feature-of-cm.
Please note that sealed documents, except for the presentence
investigation report in criminal appeals, will not be included in
the EROA. You must file a motion in our court for access to sealed
documents, which will be provided by the district court only upon
the filing and granting of a motion by our court.
Video/Audio Exhibits: If this record contains exhibits, such as
dash cam or body cam videos, that need to be submitted to the
court, please provide them to the District Court in MP4 format for
submission to our court.
Citation Guidelines: Pursuant to 5th Cir. R. 28.2.2, use the
following citation format:
  •   For single record cases, use "ROA." followed by the page
      number (e.g., "ROA.123").
  •   For multiple record cases, cite "ROA." followed by the Fifth
      Circuit appellate case number, followed by the page of the
      record (e.g., "ROA.13-12345.123").
  •   Each citation must end with a period (.) or semicolon (;).
Pro Se Litigants: If you are a pro se litigant, you may request
the record from the district court to prepare your brief. Those
proceeding in forma pauperis may receive the record without payment
of shipping costs. If you wish to receive exhibits, you must
specifically request them. Upon receiving the record, please
review it within 14 days for any missing or incomplete items. If
you need to request a supplemental record or order transcripts, do
so promptly. The court will not grant extensions of time to file
your brief due to a delay in checking the record.
Reminder Regarding Sealed Documents: Our court presumes the public
has a right to court records, and request to seal pleadings, record
excerpts, or other documents must be justified with particularity.
Simply stating that the originating court sealed the matter is
insufficient. Counsel is responsible for justifying a request to
file under seal, as well as for notifying the court when sealing
is no longer necessary. An unopposed motion to seal does not
relieve counsel of the obligation to justify the motion.
If you have any questions or require further assistance, please do
not hesitate to contact our office.


                              Sincerely,
                              LYLE W. CAYCE, Clerk


                              By: _________________________
                              Shatyra Rasheed, Deputy Clerk

Enclosure(s)
cc w/encl:
     Mr. Joseph M. Hollomon
                            ___________

                         Case No. 25-60102
                            ___________

United States of America,
                      Plaintiff - Appellant
v.
Justin Bryce Brown,
                      Defendant - Appellee
